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11                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
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   MSP RECOVERY CLAIMS, SERIES LLC, a Case No.:
13 Delaware Limited Liability Company, MAO-
14 MSO RECOVERY II, LLC, a Delaware          CLASS ACTION COMPLAINT
   entity; MSP RECOVERY, LLC, a Florida
15 entity; and MSPA CLAIMS 1, LLC, a         DEMAND FOR JURY TRIAL
   Florida entity,
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                     Plaintiffs,
18         vs.
19 MALLINCKRODT ARD INC., Formerly
   known as QUESTCOR
20 PHARMACEUTICALS, INC., a
21 California Corporation, MALLINCKRODT
   PLC, an Irish Public Limited Company, and
22 UNITED BIOSOURCE CORPORATION, a
   Delaware Corporation,
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24                    Defendants.

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                                    COMPLAINT
 1                                        COMPLAINT
 2   1.    Plaintiffs MSP Recovery Claims, Series LLC, MSPA Claims 1, LLC, MAO-
 3   MSO Recovery, LLC, and MAO-MSO Recovery II, LLC (collectively, “Plaintiffs”) on
 4   behalf of themselves and all others similarly situated, bring this action against
 5   Mallinckrodt ARD Inc., formerly known as Questcor Pharmaceuticals, Inc. (hereinafter
 6   for clarity purposes, “Questcor”), Mallinckrodt PLC, and United Biosource Corporation
 7   (“UBC”; collectively, “Defendants”) and state as follows:
 8   2.    The claims in this case arise from Defendants’ scheme to inflate prices and
 9   reduce competition for a drug known as Acthar Gel (“Acthar”) causing payers like
10   Plaintiffs to pay more for drugs than they otherwise would have paid. Plaintiffs
11   contend that Defendants are engaged in monopolistic, anti-competitive behavior by
12   purchasing and shelving the only potential competitor to Acthar, enabling Defendants
13   to exponentially raise the price for Acthar.
14   3.    Plaintiffs and putative class members suffered damages as a result of
15   Defendants’ anti-competitive conduct, and this lawsuit seeks reimbursement for those
16   overpayments. Plaintiffs were assigned the recovery rights from direct payer Medicare
17   Advantage Organizations (“MAOs”) who purchased or provided reimbursement for
18   Acthar.
19                               JURISDICTION AND VENUE
20   4.    Plaintiffs bring this action to recover treble damages, attorneys’ fees, litigation
21   expenses, court costs, and secure injunctive relief for violations of Section 1 of the
22   Sherman Act, 15 U.S.C. § 1, pursuant to Sections 4 and 16 of the Clayton Act of 1914
23   (“Clayton Act”), 15 U.S.C. §§ 15 and 26, and violations of Section 16720 of
24   California’s Cartwright Act.
25   5.    The Court has subject matter jurisdiction under 28 U.S.C. §§ 1331, 1332 (d)(2),
26   1337(a), 1407, and 15 U.S.C. § 15. Furthermore, the aggregate amount in controversy
27   exceeds $5,000,000.
28   6.    Venue is proper in this District pursuant to 15 U.S.C. §§ 15(a), 22 and 28 U.S.C.
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                                          COMPLAINT
 1   §§ 1391(b), (c), and (d) because during the Class Period (January 1, 2011 to the
 2   Present), Defendants resided, transacted business, were found, or had agents in this
 3   District, and a substantial portion of the alleged activity affecting interstate trade and
 4   commerce, discussed below, has been carried out in this District.
 5   7.    Defendants’ conduct, as described in this Complaint, was within the flow of,
 6   was intended to, and did have a substantial effect on, the interstate commerce of the
 7   United States, including in the Central District of California.
 8                                        THE PARTIES
 9   8.    MSP Recovery Claims, Series LLC, is a Delaware entity with its principal place
10   of business located at 5000 S.W. 75th Avenue, Suite 400, Miami, Florida 33155.
11   9.    Plaintiff MSPA Claims 1, LLC is a Florida entity, with its principal place of
12   business located at 2600 S. Douglas Rd., Suite 1008, Coral Gables, Florida 33134.
13   10.   Plaintiff MAO-MSO Recovery, LLC is a Delaware entity with its principal
14   place of business at 5000 S.W. 75th Avenue, Miami, Florida 33155.
15   11.   Plaintiff MAO-MSO Recovery II, LLC is a Delaware entity with its principal
16   place of business at 45 Legion Drive, Cresskill, New Jersey 07626.
17   12.   Numerous MAOs across the United States have assigned their rights to Plaintiffs
18   to recover for direct payments related to Acthar. As a result, Plaintiffs have standing
19   to pursue the claims of its assignors.
20   13.   Defendant Mallinckrodt PLC is an Irish public limited company headquartered
21   in Staines-upon-Thames, United Kingdom.
22   14.   Defendant Mallinckrodt PLC acquired Questcor on or about August 14, 2014.
23   At that time, Questcor only sold Acthar. With Mallinckrodt PLC’s acquisition,
24   Questcor became a wholly owned subsidiary of Mallinckrodt PLC and subsequently
25   changed its corporate name from Questcor Pharmaceuticals, Inc. to Mallinckrodt ARD
26   Inc. Mallinckrodt ARD, Inc. (referred to as Questcor in this Complaint) is an active,
27   California corporation registered with the California Secretary of State with its
28   headquarters in St. Louis, Missouri.
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                                              COMPLAINT
 1   15.   Defendant UBC is a Delaware corporation with its corporate headquarters at 920
 2   Harvest Drive, Blue Bell, Pennsylvania 19422. UBC is a wholly-owned subsidiary of
 3   Express Scripts Holding Company (“Express Scripts”), a Delaware Corporation, with
 4   its principle executive offices located at One Express Way, St. Louis, Missouri 63121.
 5   16.   Whenever this Complaint references any act, deed, or transaction of any
 6   corporation, the allegation means that the corporation engaged in the act, deed, or
 7   transaction by or through its officers, directors, agents, employees, or representatives
 8   while they were actively engaged in the management, direction, control, or transaction
 9   of the corporation’s business or affairs. Each Defendant acted as the principal of, or
10   agent for, all other Defendants with respect to the acts, violations, and common course
11   of conduct described in this Complaint.
12                                         STANDING
13   17.   Plaintiffs represent MAOs, which are private insurance companies that, for all
14   practical and legal purposes, stand in the same shoes as the Centers for Medicare and
15   Medicaid Services (“CMS”) in providing Medicare benefits. Traditional Medicare,
16   administered by CMS, consists of Parts A and B of the Medicare Act. Part C is the
17   Medicare Advantage program under which Medicare-eligible persons may elect to
18   have an MAO provide Medicare benefits instead of CMS. Under the Medicare
19   Advantage program, an MAO administers the provision of Medicare benefits pursuant
20   to a contract with CMS. See 42 U.S.C. § 1395w-27. CMS pays the MAO a fixed fee
21   per enrollee, and the MAO provides at least the same benefits as an enrollee would
22   receive under traditional Medicare. See 42 U.S.C. § 1395w-22(a), 1395w-23. The
23   MAO must provide the services rendered under Parts A and B. See 42 U.S.C. §
24   1395w-22. Therefore, all regulations corresponding to Parts A and B are applicable to
25   MAOs.
26   18.   Medicare Part D (“Part D”), or the Medicare Prescription Drug Benefit, is used
27   to subsidize the costs of prescription drugs and prescription drug premiums for those
28   on Medicare. Part D is only offered through private companies and CMS does not
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                                          COMPLAINT
 1   offer the benefits directly. Generally, MAOs offering Part C benefits include Part D
 2   benefits for a fee and then receive reimbursement for the beneficiaries as well.
 3   19.   MAOs exercise control over Pharmacy Benefit Managers (“PBM”) and any
 4   other first tier and downstream entities. Included in the Medicare Act and Code of
 5   Federal Regulations (“CFRs”) are provisions that set forth the price that Medicare will
 6   pay for pharmaceuticals and the requirements that plan sponsors, in this case the class
 7   of MAOs, must utilize when contracting with the drug manufacturers. Medicare’s
 8   drug prices are set in conjunction with manufacturers. Accordingly, Medicare and
 9   MAOs have directly negotiated prices for Acthar and, due to Defendants’ monopolistic
10   conduct, have over-paid for Acthar. As rightful assignees, Plaintiffs have been
11   overpaying for Acthar. Thus, Plaintiffs have standing as direct payers via their MAO
12   Assignors.
13                                FACTUAL ALLEGATIONS
14   20.   At its core, this case concerns Defendants’ collective actions to carve out and
15   maintain a monopoly for a rare drug category and to extract exponentially increasing,
16   eye-gouging prices. Defendants have fundamentally, anti-competitively altered the
17   market landscape.
18   21.   Questcor purchased Acthar in 2001. Through anticompetitive conduct,
19   Defendant Questcor extinguished threats to its monopoly relating to Acthar. As a
20   result, Acthar is the only therapeutic adrenocorticotropic hormone (“ACTH”) product
21   sold in the United States.
22   22.   ACTH is the standard of care treatment for children with infantile spasms.
23   These spasms involve dangerous seizures during the first two years of a child’s life.
24   ACTH is also used to treat nephrotic syndrome—a kidney disorder—as well as some
25   other disorders such as rheumatoid arthritis which occur in the elderly.
26   23.   About a decade ago, Questcor vertically integrated its sales and distribution
27   through one exclusive distributor, Curascript. Vertical integration is common in the
28   business world. However, in the context of specialty pharmaceuticals, this integration
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                                          COMPLAINT
 1   supercharged Defendants’ ability to extract exponentially increasing prices for Acthar.
 2   24.   In 2001, the average price of Acthar was $40 per vial. For the Assignor MAOs,
 3   Questcor now charges over $34,000 per vial—an 85,000% increase—from when
 4   Questcor purchased Acthar.
 5   25.   Buying an Acthar vial is typically not a one-time expense for patients. A course
 6   of Acthar treatment often requires multiple vials, costing in excess of $100,000 for one
 7   course of treatment.
 8   26.   The Assignor MAOs paid these inflated prices. Data going back to 2013 shows
 9   the average purchase price paid by the MAOs per vial for Acthar has been as follows:
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     27.   In stark contrast to the United Sates, elsewhere in the world, e.g. in Europe and
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     Canada, doctors treat patients suffering from the same conditions that Acthar is used to
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     treat with a different drug called Synacthen Depot (“Synacthen”). Synacthen is a
16
     synthetic ACTH drug, while Acthar is a natural ACTH drug.
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     28.   Until June 2013, Novartis AG (“Novartis”) marketed and sold Synacthen
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     abroad. In 2011, Novartis decided to sell the rights to market Synacthen in the United
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     States. For years, Questcor viewed Synacthen as a significant, potential competitive
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     threat to Acthar.
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     29.   Accordingly, Questcor outbid other companies to acquire the U.S. rights to
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     Synacthen. By acquiring Synacthen, Questcor created a market monopoly in the
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     United States. Questcor paid nearly ten times more than what a competitor offered to
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     purchase Synacthen.
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     30.   Simply put, Defendants’ monopolistic actions have had an adverse effect on
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     Plaintiffs who have spent far more to purchase Acthar that it otherwise would. The
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     entire market has been altered. Defendants have ensured that there would be no
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                                         COMPLAINT
 1   competition, harming the market as a whole by reducing innovation and competition.
 2   Domestic release of Synacthen would have instantly created competition for Acthar,
 3   resulting in a lower price for the drug. Defendants have no valid business reason for
 4   Acthar’s inflated price.
 5   31.   As it relates to Synacthen, each alternative bidder expected to profitably sell
 6   Synacthen at a price well below Acthar’s price. This demonstrates that Acthar is
 7   currently priced at an anti-competitive level. The lower prices that would prevail in a
 8   duopoly market containing Acthar and Synacthen show that Acthar is currently
 9   positioning Acthar at an anticompetitive price.
10   32.   On January 18, 2017, the Federal Trade Commission (“FTC”) filed a three-
11   count complaint based on the above referenced facts against Defendants on behalf of
12   the FTC and various State Attorney Generals. These counts consisted of
13   Monopolization in Violation of the FTC Act; Monopolization in Violation of the
14   Sherman Act; and various state law claims.
15   33.   Twelve days after the complaint was filed, Defendants settled with the FTC for
16   $100 million.
17                                 CLASS ALLEGATIONS
18   34.   Plaintiffs bring this action on behalf of themselves and the following classes:
19         Class 1: All MAOs and related entities in the United States and its
20         territories who purchased, paid, provided reimbursement, and/or possess
21         the recovery rights to reimbursement, for some or all of the purchase price
22         of Defendants’ pharmaceutical, Acthar, pursuant to Medicare Part C
23         contracts offering Medicare Part B services from January 1, 2011, to
24         present. This class excludes: (a) Defendants, their officers, directors,
25         management, employees, subsidiaries, and affiliates; (b) all federal and
26         state governmental entities except for cities, towns, or municipalities with
27         self-funded prescription drug plans; and (c) any judges or justices
28         involved in this action and any members of their immediate families.
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                                          COMPLAINT
 1         Class 2: All MAO, MA-PD, or PDP sponsors and related entities in the
 2         United States and its territories who purchased, paid, provided
 3         reimbursement, and/or possess the recovery rights to reimbursement, for
 4         some or all of the purchase price of Defendants’ pharmaceutical, Acthar,
 5         pursuant to Medicare Part D contracts providing services from January 1,
 6         2011, to present. This class excludes: (a) Defendants, their officers,
 7         directors, management, employees, subsidiaries, and affiliates; (b) all
 8         federal and state governmental entities except for cities, towns, or
 9         municipalities with self-funded prescription drug plans; and (c) any
10         judges or justices involved in this action and any members of their
11         immediate families.
12   35.   Plaintiffs bring this action pursuant to Federal Rule of Civil Procedure 23 both
13   individually and on behalf of (a) a national injunctive class and/or (b) a national
14   damages classes and/or (c) various state-wide damages sub-classes, during the period
15   from January 1, 2011, to the present.
16   36.   As discussed in this Class Action Complaint, Defendants have enjoyed ill-gotten
17   gains from the sales of Acthar at the expense of Class Members, who suffered damages
18   to their property and business. Such damages apply to all Class Members (and
19   Plaintiffs as the rightful assignees of those organizations). Class action law has long
20   recognized that, when a company engages in conduct that has uniformly harmed many
21   claimants such as Plaintiffs, other direct payers, and consumers, class resolution is an
22   effective tool to redress the harm.
23   37.   Here, the Class Members have been deprived of property and money by being
24   forced to purchase prescriptions of Acthar at unlawfully elevated prices as a direct
25   result of Defendants engaging in anti-competitive conduct, as alleged throughout this
26   Complaint.
27   38.   The Class is properly brought and should be maintained as a class action under
28   Rule 23(a), satisfying the class action prerequisites of numerosity, commonality,
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                                           COMPLAINT
 1   typicality, and adequacy:
 2   39.    Numerosity: There are hundreds of entities (including the organizations that
 3   assigned their rights to Plaintiffs) throughout the United States that were forced to pay
 4   artificially inflated, anti-competitive prices for Acthar. Thus, the numerosity element
 5   for class certification is met.
 6   40.    Commonality: Questions of law or fact are common to all members of the Class.
 7   Specifically, Defendants’ misconduct was directed at all members of this Class.
 8   Defendants’ illegal pattern of anticompetitive conduct had a common, adverse effect
 9   on all purchasers of Acthar. All members of the Class have common questions of fact
10   or law. Each Class Member shares the same needed remedy, i.e., reimbursement for
11   the inflated prices and lost money due to the Defendants’ monopolistic actions, and
12   imposition of injunctive and equitable relief to stop Defendants from continuing in
13   their anti-competitive activities.
14   41.    Typicality: Plaintiffs’ claims are typical of the claims of the Class because their
15   claims arise from the same course of conduct by Defendants, i.e., anticompetitive
16   prices. Plaintiffs paid or reimbursed for prescriptions of Acthar at anti-competitive
17   prices as a consequence of Defendants’ actions. Plaintiffs’ claims are, therefore,
18   typical of the Class.
19   42.    Adequacy: Plaintiffs will fairly and adequately represent and protect the
20   interests of the Class. Its interests in vindicating these claims are shared with all
21   members of the Class. In addition, Plaintiffs are represented by competent and
22   experienced counsel in class action litigation.
23   43.    The Class is properly brought and should be maintained as a class action under
24   Rule 23(b) because a class action in this context is superior. Pursuant to Rule 23(b)(3),
25   common issues of law and fact predominate over any questions affecting only
26   individual members of the Class.
27   44.    The Class is also properly brought and should be maintained as a class action
28   under Rule 23(b)(2) and (b)(3). Defendants have acted or refused to act on grounds
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                                           COMPLAINT
 1   that apply generally to the Class, such that final injunctive relief or corresponding
 2   declaratory relief is appropriate with respect to the class. Additionally, Defendants
 3   acted in such a way that questions of law or fact predominate over any questions
 4   affecting only individual members, and that a class action is superior to other available
 5   methods for fairly and efficiently adjudicating the controversy.
 6   45.   Additionally, Plaintiffs and the putative Class contend that Defendants violated
 7   the federal antitrust laws by vertical price fixing and suffered harm by paying inflated
 8   anticompetitive prices for Acthar. This injury is of the type the federal antitrust laws
 9   were intended to prevent and flows from that which makes Defendants’ acts unlawful.
10   The collusion and monopolistic activity between Defendants supplied an atmosphere
11   which drove up the costs of Acthar, resulting in Class damages - Class members paid a
12   price for Acthar that was higher than the but-for-price had there been no collusion or
13   monopolistic activity between the Defendants.
14                                     CAUSES OF ACTION
15                Count I: Sherman Act Violations Pursuant to 15 U.S.C. §§ 2
16   46.   Plaintiffs incorporate by reference paragraphs 1 through 45 as if fully set forth
17   herein.
18   47.   Defendants monopolized the market for the pharmaceutical Acthar, and thereby,
19   violated the Sherman Act (15 U.S.C. § 2).
20   48.   While actively engaged in the management of Defendants’ affairs, Defendants’
21   officers, agents, employees, or representatives authorized Defendants’ acts in
22   furtherance of a contract, combination, or conspiracy.
23   49.   During the Class Period, Defendants bought the rights to bring Acthar’s AB
24   rated bioequivalent, Synachthen, to the United States.
25   50.   After purchasing these rights, Defendants have not brought to the market the AB
26   rated bioequivalent and have not allowed any other entity to bring the pharmaceutical
27   to market.
28   51.   These acts have caused unreasonable restraints of trade in the market for Acthar.
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                                          COMPLAINT
 1   52.   As a result of Defendants’ unlawful conduct, Plaintiffs and all other similarly
 2   situated Class Members that purchased Acthar have been harmed by paying inflated,
 3   anti-competitive prices.
 4   53.   Defendants’ actions had the following effects, among others: a) price
 5   competition in the market for Acthar has been restrained, suppressed, and/or
 6   eliminated in the United States; b) prices for Acthar provided by Defendants have been
 7   fixed, raised, maintained, and stabilized at artificially high, non-competitive levels
 8   throughout the United States; and c) Plaintiffs and Class Members who purchased
 9   Acthar from Defendants and their co-conspirators have been deprived of the benefits
10   of free and open competition.
11   54.   Plaintiffs and the Class members are entitled to and shall recover threefold the
12   damages sustained and the cost of suit, including a reasonable attorney’s fee.
13   55.   Plaintiffs and the Class Members are also entitled to an injunction against
14   Defendants, which will prevent and restrain the violations alleged herein.
15             Count II: Sherman Act Violations Pursuant to 15 U.S.C. §§ 1 and 3
16   56.   Plaintiffs incorporate by reference paragraphs 1 through 55 as if fully set forth
17   herein.
18   57.   As set forth above, Questcor has entered into exclusive agreements with its
19   competitor in the European market, Novartis, its agent, UBC, and its exclusive
20   specialty pharmacy distributor, Curascript, to preserve and extend its monopoly power
21   and to allow it to maintain and extend its soaring prices for Acthar.
22   58.   There is no legitimate business justification on the part of Questcor for these
23   exclusive and exclusionary agreements, and these agreements: (a) substantially
24   foreclosed and excluded competition from other potential ACTH manufacturers and
25   distributors, and (b) resulted in Questcor’s willful maintenance and unlawful exercise
26   of monopoly power in the market for ACTH drugs.
27   59.   At all relevant times, Questcor’s exclusive and exclusionary agreements with
28   UBC and other agents assisted Questcor in: (a) effectively excluding less expensive,
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                                          COMPLAINT
 1   potentially superior competitive products from the ACTH drug market; (b) maintaining
 2   Questcor’s dominant market share and monopoly power in the ACTH drug market; (c)
 3   maintaining prices at artificially elevated levels for Acthar; and (d) otherwise reaping
 4   the benefits of its illegal monopoly power. There is no procompetitive justification for
 5   Questcor’s conduct.
 6   60.     Plaintiffs’ injuries consist of paying higher prices to purchase Acthar than it
 7   would have paid absent Questcor’s unlawful conduct. Plaintiffs’ injuries are the type
 8   the antitrust laws were designed to prevent and flow from that which makes Questcor’s
 9   conduct unlawful.
10   61.     Defendants’ acts and practices constitute anti-competitive agreements in
11   unreasonable restraint of trade in violation of Section 1 and Section 3 of the Sherman
12   Act, 15 U.S.C. §§ 1 and 3.
13                                 Count III: Unjust Enrichment
14   62.     Plaintiffs repeat the allegations in paragraphs 1 through 61 as if fully set forth
15   herein.
16   63.     As a result of the unlawful conduct described above, Defendants have been
17   unjustly enriched. At a minimum, Defendants were unjustly enriched by the receipt of
18   improper profits from the sale of Acthar at unlawfully inflated prices.
19   64.     As Defendants benefited from their unlawful acts, it would be inequitable for
20   Defendants to be permitted to retain any of the ill-gotten gains.
21   65.     Plaintiffs and the Class Members are entitled to: 1) the amount of Defendants’
22   ill-gotten gains resulting from Defendants’ unlawful, unjust, and inequitable conduct;
23   and 2) the establishment of a constructive trust consisting of all ill-gotten gains from
24   which Plaintiffs and the Class Members may make claims on a pro rata basis.
25         Count IV: Violation of State Antitrust and Consumer Protection Statutes
26   66.     Plaintiffs repeat the allegations in paragraphs 1 through 65 as if fully set forth
27   herein.
28   67.     During the Class Period, Defendants and their co-conspirators engaged in a
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                                            COMPLAINT
 1   continuing contract, combination or conspiracy with respect to the sale of Acthar,
 2   which resulted in unreasonable restraint of trade and commerce and in violation of
 3   various state statutes, as set forth below.
 4   68.   The contract, combination, or conspiracy consisted of an agreement among the
 5   Defendants and their co-conspirators to fix, raise, inflate, stabilize, and/or maintain
 6   artificially anti-competitive prices for Acthar in the United States.
 7   69.   Defendants and their co-conspirators performed acts in furtherance of the
 8   combination and conspiracy, including meetings and participating in conversations
 9   among themselves, which took place in the United States, during which they agreed to
10   fix, increase, inflate, maintain, or stabilize prices that Plaintiffs and the Class Members
11   paid for Acthar.
12   70.   Defendants and their co-conspirators engaged in the actions described above for
13   the purpose of carrying out their unlawful monopolization of Acthar.
14   71.   Defendants’ anticompetitive conduct described above was knowing, willful and
15   constituted violations or flagrant violations of several state antitrust statutes as
16   described below.
17                                             Arizona
18   72.   Defendants have entered into an unlawful agreement in restraint of trade in
19   violation of Arizona Revised Statutes, §§ 44-1401, et seq. Defendants’ combinations
20   or conspiracies had the following effects: (1) price competition for Acthar was
21   restrained, suppressed, and eliminated throughout Arizona; (2) Acthar prices were
22   raised, fixed, maintained and stabilized at artificially high levels throughout Arizona;
23   (3) Plaintiffs and other similarly situated payers in the Class were deprived of free and
24   open competition; and (4) Plaintiffs and other similarly situated payers in the Class
25   paid anti-competitive, artificially inflated prices for Acthar. During the Class Period,
26   Defendants’ illegal conduct substantially affected Arizona commerce. As a direct and
27   proximate result of Defendants’ unlawful conduct, Plaintiffs and other similarly
28   situated payers in the Class have been injured in their business and property and are
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                                            COMPLAINT
 1   threatened with further injury. Due to the foregoing, Defendants entered into
 2   agreements in restraint of trade in violation of Ariz. Rev. Stat. §§ 44-1401, et seq.
 3   Accordingly, Plaintiffs and other similarly situated payers in the Class seek all forms
 4   of relief available under Ariz. Rev. Stat. §§ 44-1401, et seq.
 5                                           Arkansas
 6   73.   Defendants have knowingly entered into an unlawful agreement in restraint of
 7   trade in violation of the Arkansas Code Annotated, § 4-88-101, et seq. Defendants
 8   knowingly agreed to, and did in fact, act in restraint of trade or commerce by affecting,
 9   fixing, controlling, and/or maintaining at non-competitive and artificially inflated
10   levels, the prices at which Acthar was sold, distributed, or obtained in Arkansas and
11   took efforts to conceal their agreements from Plaintiffs and members of the Class. The
12   aforementioned conduct on the part of the Defendants constituted “unconscionable”
13   and “deceptive” acts or practices in violation of Arkansas Code Annotated, § 4-88-
14   107(a)(10). Defendants’ unlawful conduct had the following effects: (1) Acthar price
15   competition was restrained, suppressed, and eliminated throughout Arkansas; (2)
16   Acthar prices were raised, fixed, maintained, and stabilized at artificially elevated
17   levels throughout Arkansas; (3) Plaintiffs and the members of the Class were deprived
18   of free and open competition; and (4) Plaintiffs and the members of the Class paid anti-
19   competitive, artificially inflated prices for Acthar. During the Class Period,
20   Defendants’ illegal conduct substantially affected Arkansas commerce and consumers.
21   As a direct and proximate result of the unlawful conduct of the Defendants, Plaintiffs
22   and the members of the Class have been injured in their business and property and are
23   threatened with further injury. Defendants have engaged in unfair competition or
24   unfair or deceptive acts or practices in violation of Arkansas Code Annotated, § 4-88-
25   107(a)(10) and, accordingly, Plaintiffs and the members of the Class seek all relief
26   available under that statute.
27                                          California
28   74.   Defendants have entered into an unlawful agreement in restraint of trade in
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                                          COMPLAINT
 1   violation of California Business and Professions Code §§ 16700 et seq. During the
 2   Class Period, Defendants and their co-conspirators entered into and engaged in a
 3   continuing unlawful trust in restraint of trade and commerce described above in
 4   violation of California Business and Professions Code Section § 16720. Defendants,
 5   and each of them, have acted in violation of Section 16720 to fix, raise, stabilize, and
 6   maintain prices of Acthar at anti-competitive levels. The aforesaid violations of
 7   Section 16720 consisted, without limitation, of a continuing unlawful trust and concert
 8   of action among the Defendants and their co-conspirators, the substantial terms of
 9   which were to fix, raise, maintain, and stabilize the prices of Acthar. For the purpose
10   of forming and effectuating the unlawful trust, the Defendants and their co-
11   conspirators have done those things which they combined and conspired to do,
12   including but not limited to the acts, practices and course of conduct set forth above
13   and creating a price floor, fixing, raising, and stabilizing the prices of Acthar. The
14   combination and conspiracy alleged herein has had, inter alia, the following effects:
15   (1) price competition for Acthar has been restrained, suppressed, and/or eliminated in
16   the State of California; (2) prices for Acthar provided by Defendants and their co-
17   conspirators have been fixed, raised, stabilized, and pegged at artificially high, non-
18   competitive levels in the State of California and throughout the United States; and (3)
19   those who purchased Acthar directly or indirectly from Defendants and their co-
20   conspirators have been deprived of the benefit of free and open competition. As a
21   direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and other
22   similarly situated payers in the Class have been injured in their business and property
23   in that they paid more for Acthar than they otherwise would have paid in the absence
24   of Defendants’ unlawful conduct. Due to Defendants’ violation of Section 16720,
25   Plaintiffs and other similarly situated payers in the Class seek treble damages and their
26   cost of suit, including a reasonable attorney’s fee, pursuant to California Business and
27   Professions Code § 16750(a).
28                                           California II
                                             16
                                          COMPLAINT
 1   75.   Defendants have engaged in unfair competition or unfair, unconscionable,
 2   deceptive or fraudulent acts or practices in violation of California Business and
 3   Professions Code § 17200, et seq. During the Class Period, Defendants manufactured,
 4   marketed, sold, or distributed Acthar in California, and committed and continue to
 5   commit acts of unfair competition, as defined by Sections 17200, et seq. of the
 6   California Business and Professions Code, by engaging in the acts and practices
 7   specified above. This claim is instituted pursuant to Sections 17203 and 17204 of the
 8   California Business and Professions Code, to obtain restitution from these Defendants
 9   for acts, as alleged herein, that violated Section 17200 of the California Business and
10   Professions Code, commonly known as the Unfair Competition Law. The Defendants’
11   conduct as alleged herein violated Section 17200. The acts, omissions,
12   misrepresentations, practices and non-disclosures of Defendants, as alleged herein,
13   constituted a common, continuous, and continuing course of conduct of unfair
14   competition by means of unfair, unlawful, and/or fraudulent business acts or practices
15   within the meaning of California Business and Professions Code § 17200, et seq.,
16   including, but not limited to, the following: (1) the violations of Section 1 of the
17   Sherman Act, as set forth above; (2) the violations of Section 16720, et seq. of the
18   California Business and Professions Code, set forth above. Defendants’ acts,
19   omissions, misrepresentations, practices, and non-disclosures, as described above,
20   whether or not in violation of Section 16720, et seq. of the California Business and
21   Professions Code, and whether or not concerted or independent acts, are otherwise
22   unfair, unconscionable, unlawful or fraudulent; (3) Defendants’ acts or practices are
23   unfair to purchasers of Acthar in the State of California within the meaning of Section
24   17200, California Business and Professions Code; and (4) Defendants’ acts and
25   practices are fraudulent or deceptive within the meaning of Section 17200 of the
26   California Business and Professions Code. Plaintiffs and members of the Class are
27   entitled to full restitution and/or disgorgement of all revenues, earnings, profits,
28   compensation, and benefits that may have been obtained by Defendants as a result of
                                              17
                                           COMPLAINT
 1   such business acts or practices. The illegal conduct alleged herein is continuing and
 2   there is no indication that Defendants will cease such activity into the future. The
 3   unlawful and unfair business practices of Defendants, and each of them, as described
 4   above, have caused and continue to cause Plaintiffs and the members of the Class to
 5   pay anti-competitive and artificially-inflated prices for Acthar. Plaintiffs and the
 6   members of the Class suffered injury in fact and lost money or property as a result of
 7   such unfair competition. The conduct of Defendants as alleged in this Complaint
 8   violates Section 17200 of the California Business and Professions Code. As alleged in
 9   this Complaint, Defendants and their co-conspirators have been unjustly enriched as a
10   result of their wrongful conduct and by Defendants’ unfair competition. Plaintiffs and
11   the members of the Class are accordingly entitled to equitable relief including
12   restitution and/or disgorgement of all revenues, earnings, profits, compensation, and
13   benefits that may have been obtained by Defendants as a result of such business
14   practices, pursuant to the California Business and Professions Code, §§ 17203 and
15   17204.
16                                     District of Columbia
17   76.   Defendants have entered into an unlawful agreement in restraint of trade in
18   violation of District of Columbia Code Annotated §§ 28-4501, et seq. Defendants’
19   combinations or conspiracies had the following effects: (1) Acthar price competition
20   was restrained, suppressed, and eliminated throughout the District of Columbia; (2)
21   Acthar prices were raised, fixed, maintained and stabilized at artificially high levels
22   throughout the District of Columbia; (3) Plaintiffs and other similarly situated payers
23   in the Class including those who resided in the District of Columbia and/or purchased
24   Acthar that was shipped by Defendants or their co-conspirators, were deprived of free
25   and open competition, including in the District of Columbia; and (4) Plaintiffs and
26   other similarly situated payers in the Class, including those who resided in the District
27   of Columbia and/or purchased Acthar in the District of Columbia that was shipped by
28   Defendants or their co-conspirators, paid anti-competitive, artificially inflated prices
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                                          COMPLAINT
 1   for Acthar, including in the District of Columbia. During the Class Period,
 2   Defendants’ illegal conduct substantially affected District of Columbia commerce. As
 3   a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and other
 4   similarly situated Class members, have been injured in their business and property and
 5   are threatened with further injury. Due to the foregoing, Defendants have entered into
 6   agreements in restraint of trade in violation of District of Columbia Code Ann. §§ 28-
 7   4501, et seq. Accordingly, Plaintiffs and other similarly situated payers seek all forms
 8   of relief available under District of Columbia Code Ann. §§ 28-4501, et seq.
 9                                     District of Columbia II
10   77.   Defendants have engaged in unfair competition or unfair, unconscionable, or
11   deceptive acts or practices in violation of District of Columbia Code § 28-3901, et seq.
12   Defendants agreed to, and did in fact, act in restraint of trade or commerce by
13   affecting, fixing, controlling and/or maintaining, at artificial and/or non-competitive
14   levels, the prices at which Acthar was sold, distributed or obtained in the District of
15   Columbia. The foregoing conduct constitutes “unlawful trade practices,” within the
16   meaning of D.C. Code § 28-3904. Plaintiffs were not aware of Defendants’ price-
17   fixing conspiracy and were therefore unaware that they was being unfairly and
18   illegally overcharged. There was a gross disparity of bargaining power between the
19   parties with respect to the price charged by Defendants for Acthar. Defendants had the
20   sole power to set that price and Plaintiffs had no power to negotiate a lower price.
21   Moreover, Plaintiffs lacked any meaningful choice in purchasing Acthar because it
22   was unaware of the unlawful overcharges and there was no alternative source of supply
23   through which Plaintiffs could avoid the overcharges. Defendants’ conduct regarding
24   sales of Acthar, including their illegal conspiracy to secretly fix the price of Acthar at
25   anti-competitive levels and overcharge consumers, was substantively unconscionable
26   because it was one-sided and unfairly benefited Defendants at the expense of Plaintiffs
27   and the public. Defendants took grossly unfair advantage of Plaintiffs. The
28   suppression of competition that has resulted from Defendants’ conspiracy has
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                                           COMPLAINT
 1   ultimately resulted in unconscionably higher prices for purchasers so that there was a
 2   gross disparity between the price paid and the value received for Acthar. Defendants’
 3   unlawful conduct had the following effects: (1) Acthar price competition was
 4   restrained, suppressed, and eliminated throughout the District of Columbia; (2) Acthar
 5   prices were raised, fixed, maintained, and stabilized at artificially elevated levels
 6   throughout the District of Columbia; (3) Plaintiffs and the Class were deprived of free
 7   and open competition; and (4) Plaintiffs and the Class paid anti-competitive,
 8   artificially inflated prices for Acthar. As a direct and proximate result of the
 9   Defendants’ conduct, Plaintiffs and members of the Class have been injured and are
10   threatened with further injury. Defendants have engaged in unfair competition or
11   unfair or deceptive acts or practices in violation of District of Columbia Code § 28-
12   3901, et seq., and, accordingly, Plaintiffs and members of the Class seek all relief
13   available under that statute.
14                                            Florida
15   78.   Defendants have engaged in unfair competition or unfair, unconscionable, or
16   deceptive acts or practices in violation of the Florida Deceptive and Unfair Trade
17   Practices Act, Fla. Stat. §§ 501.201, et seq. Defendants’ unlawful conduct had the
18   following effects: (1) Acthar price competition was restrained, suppressed, and
19   eliminated throughout Florida; (2) Acthar prices were raised, fixed, maintained, and
20   stabilized at artificially elevated levels throughout Florida; (3) Plaintiffs and members
21   of the Class were deprived of free and open competition; and (4) Plaintiffs and
22   members of the Class paid anti-competitive, artificially inflated prices for Acthar.
23   During the Class Period, Defendants’ illegal conduct substantially affected Florida
24   commerce and consumers. As a direct and proximate result of Defendants’ unlawful
25   conduct, Plaintiffs and members of the Class have been injured and are threatened with
26   further injury. Defendants have engaged in unfair competition or unfair or deceptive
27   acts or practices in violation of Florida Stat. § 501.201, et seq., and, accordingly,
28   Plaintiffs and members of the Class seek all relief available under that statute.
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                                           COMPLAINT
 1                                            Hawaii
 2   79.   Defendants have engaged in unfair competition or unfair, unconscionable, or
 3   deceptive acts or practices in violation of the Hawaii Revised Statutes Annotated §§
 4   480-1, et seq. Defendants’ unlawful conduct had the following effects: (1) Acthar
 5   price competition was restrained, suppressed, and eliminated throughout Hawaii; (2)
 6   Acthar prices were raised, fixed, maintained, and stabilized at artificially elevated
 7   levels throughout Hawaii; (3) Plaintiffs and members of the Class were deprived of
 8   free and open competition; and (4) Plaintiffs and members of the Class paid anti-
 9   competitive, artificially inflated prices for Acthar. During the Class Period,
10   Defendants’ illegal conduct substantially affected Hawaii commerce and consumers.
11   As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and
12   members of the Class have been injured and are threatened with further injury.
13   Defendants have engaged in unfair competition or unfair or deceptive acts or practices
14   in violation of Hawaii Rev. Stat. § 480, et seq., and, accordingly, Plaintiffs and
15   members of the Class seek all relief available under that statute.
16                                           Hawaii II
17   80.   Defendants have entered into an unlawful agreement in restraint of trade in
18   violation of Hawaii Revised Statutes Annotated §§ 480-1, et seq. Defendants’
19   unlawful conduct had the following effects: (1) Acthar price competition was
20   restrained, suppressed, and eliminated throughout Hawaii; (2) Acthar prices were
21   raised, fixed, maintained, and stabilized at artificially high levels throughout Hawaii;
22   (3) Plaintiffs and other similarly situated payers in the Class were deprived of free and
23   open competition; and (4) Plaintiffs and other similarly situated payers in the Class
24   paid anti-competitive, artificially inflated prices for Acthar. During the Class Period,
25   Defendants’ illegal conduct substantially affected Hawaii commerce. As a direct and
26   proximate result of Defendants’ unlawful conduct, Plaintiffs and other similarly
27   situated payers in the Class have been injured in their business and property and are
28   threatened with further injury. Due to the foregoing, Defendants have entered into
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                                          COMPLAINT
 1   agreements in restraint of trade in violation of Hawaii Revised Statutes Annotated §§
 2   480-4, et seq. Accordingly, Plaintiffs and other similarly situated payers in the Class
 3   seek all forms of relief available under Hawaii Revised Statutes Annotated §§ 480-4, et
 4   seq.
 5                                             Illinois
 6   81.    Defendants have entered into an unlawful agreement in restraint of trade in
 7   violation of the Illinois Antitrust Act (740 Illinois Compiled Statutes 10/1, et seq.).
 8   Defendants’ combinations or conspiracies had the following effects: (1) Acthar price
 9   competition was restrained, suppressed, and eliminated throughout Illinois; (2) Acthar
10   prices were raised, fixed, maintained, and stabilized at artificially high levels
11   throughout Illinois; (3) Plaintiffs and other similarly situated payers in the Class were
12   deprived of free and open competition; and (4) Plaintiffs and other similarly situated
13   payers in the Class paid anti-competitive, artificially inflated prices for Acthar. During
14   the Class Period, Defendants’ illegal conduct substantially affected Illinois commerce.
15   As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and other
16   similarly situated payers in the Class have been injured in their business and property
17   and are threatened with further injury.
18                                              Iowa
19   82.    Defendants have entered into an unlawful agreement in restraint of trade in
20   violation of Iowa Code §§ 553.1, et seq. Defendants’ combinations or conspiracies
21   had the following effects: (1) Acthar price competition was restrained, suppressed, and
22   eliminated throughout Iowa; (2) Acthar prices were raised, fixed, maintained and
23   stabilized at artificially high levels throughout Iowa; (3) Plaintiffs and other similarly
24   situated payers in the Class were deprived of free and open competition; and (4)
25   Plaintiffs and other similarly situated payers in the Class paid anti-competitive,
26   artificially inflated prices for Acthar. During the Class Period, Defendants’ illegal
27   conduct substantially affected Iowa commerce. As a direct and proximate result of
28   Defendants’ unlawful conduct, Plaintiffs and other similarly situated payers in the
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                                           COMPLAINT
 1   Class have been injured in their business and property and are threatened with further
 2   injury. Due to the foregoing, Defendants have entered into agreements in restraint of
 3   trade in violation of Iowa Code §§ 553.1, et seq. Accordingly, Plaintiffs and other
 4   similarly situated payers in the Class seek all forms of relief available under Iowa
 5   Code §§ 553, et seq.
 6                                            Kansas
 7   83.   Defendants have entered into an unlawful agreement in restraint of trade in
 8   violation of Kansas Statutes Annotated, §§ 50-101, et seq. Defendants’ combinations
 9   or conspiracies had the following effects: (1) Acthar competition was restrained,
10   suppressed, and eliminated throughout Kansas; (2) Acthar prices were raised, fixed,
11   maintained and stabilized at artificially high levels throughout Kansas; (3) Plaintiffs
12   and other similarly situated payers in the Class were deprived of free and open
13   competition; and (4) Plaintiffs and other similarly situated payers in the Class paid
14   anti-competitive, artificially inflated prices for Acthar. During the Class Period,
15   Defendants’ illegal conduct substantially affected Kansas commerce. As a direct and
16   proximate result of Defendants’ unlawful conduct, Plaintiffs and other similarly
17   situated payers in the Class have been injured in their business and property and are
18   threatened with further injury. Due to the foregoing, Defendants have entered into
19   agreements in restraint of trade in violation of Kansas Stat. Ann. §§ 50-101, et seq.
20   Accordingly, Plaintiffs and other similarly situated payers in the Class seek all forms
21   of relief available under Kansas Stat. Ann. §§ 50-101, et seq.
22                                             Maine
23   84.   Defendants have entered into an unlawful agreement in restraint of trade in
24   violation of Maine Revised Statutes (Maine Rev. Stat. Ann. 10, §§ 1101, et seq.).
25   Defendants’ combinations or conspiracies had the following effects: (1) Acthar price
26   competition was restrained, suppressed, and eliminated throughout Maine; (2) Acthar
27   prices were raised, fixed, maintained and stabilized at artificially high levels
28   throughout Maine; (3) Plaintiffs and other similarly situated payers in the Class were
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                                           COMPLAINT
 1   deprived of free and open competition; and (4) Plaintiffs and other similarly situated
 2   payers in the Class paid anti-competitive, artificially inflated prices for Acthar. During
 3   the Class Period, Defendants’ illegal conduct substantially affected Maine commerce.
 4   As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and other
 5   similarly situated payers in the Class have been injured in their business and property
 6   and are threatened with further injury. Due to the foregoing, Defendants have entered
 7   into agreements in restraint of trade in violation of Maine Rev. Stat. Ann. 10, §§ 1101,
 8   et seq. Accordingly, Plaintiffs and other similarly situated payers in the Class seek all
 9   relief available under Maine Rev. Stat. Ann. 10, §§ 1101, et seq.
10                                        Massachusetts
11   85.   Defendants have engaged in unfair competition or unlawful, unfair,
12   unconscionable, or deceptive acts or practices in violation of the Massachusetts Gen.
13   Laws, Ch 93A, § 1, et seq. Defendants were engaged in trade or commerce as defined
14   by G.L. 93A. Defendants, in a market that includes Massachusetts, agreed to, and did
15   in fact, act in restraint of trade or commerce by affecting, fixing, controlling, and/or
16   maintaining at non-competitive and artificially inflated levels, the prices at which
17   Acthar was sold, distributed, or obtained in Massachusetts and took efforts to conceal
18   their agreements from Plaintiffs and members of the Class. The aforementioned
19   conduct on the part of the Defendants constituted “unfair methods of competition and
20   unfair or deceptive acts or practices in the conduct of any trade or commerce,” in
21   violation of Massachusetts Gen. Laws, Ch 93A, § 2, 11. Defendants’ unlawful
22   conduct had the following effects: (1) Acthar price competition was restrained,
23   suppressed, and eliminated throughout Massachusetts; (2) Acthar prices were raised,
24   fixed, maintained, and stabilized at artificially high levels throughout Massachusetts;
25   (3) Plaintiffs and the members of the Class were deprived of free and open
26   competition; and (4) Plaintiffs and the members of the Class paid anti-competitive,
27   artificially inflated prices for Acthar. During the Class Period, Defendants’ illegal
28   conduct substantially affected Massachusetts commerce and consumers. As a direct
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                                           COMPLAINT
 1   and proximate result of the unlawful conduct of the Defendants, Plaintiffs and the
 2   members of the Class have been injured in their business and property and are
 3   threatened with further injury. Defendants have engaged in unfair competition or
 4   unfair or deceptive acts or practices in violation of Massachusetts Gen. Laws, Ch 93A,
 5   §§ 2, 11, that were knowing or willful, and, accordingly, Plaintiffs and the members of
 6   the Class seek all relief available under that statute, including multiple damages.
 7                                           Michigan
 8   86.   Defendants have entered into an unlawful agreement in restraint of trade in
 9   violation of Michigan Compiled Laws Annotated §§ 445.771, et seq. Defendants’
10   combinations or conspiracies had the following effects: (1) Acthar competition was
11   restrained, suppressed, and eliminated throughout Michigan; (2) Acthar prices were
12   raised, fixed, maintained and stabilized at artificially high levels throughout Michigan;
13   (3) Plaintiffs and other similarly situated payers in the Class were deprived of free and
14   open competition; and (4) Plaintiffs and other similarly situated payers in the Class
15   paid anti-competitive, artificially inflated prices for Acthar. During the Class Period,
16   Defendants’ illegal conduct substantially affected Michigan commerce. As a direct
17   and proximate result of Defendants’ unlawful conduct, Plaintiffs and other similarly
18   situated payers in the Class have been injured in their business and property and are
19   threatened with further injury. Due to the foregoing, Defendants have entered into
20   agreements in restraint of trade in violation of Michigan Comp. Laws Ann. §§
21   445.771, et seq. Accordingly, Plaintiffs and other similarly situated payers in the Class
22   seek all relief available under Michigan Comp. Laws Ann. §§ 445.771, et seq.
23                                          Minnesota
24   87.   Defendants have entered into an unlawful agreement in restraint of trade in
25   violation of Minnesota Annotated Statutes §§ 325D.49, et seq. Defendants’
26   combinations or conspiracies had the following effects: (1) Acthar competition was
27   restrained, suppressed, and eliminated throughout Minnesota; (2) Acthar prices were
28   raised, fixed, maintained and stabilized at artificially high levels throughout
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                                           COMPLAINT
 1   Minnesota; (3) Plaintiffs and other similarly situated payers in the Class were deprived
 2   of free and open competition; and (4) Plaintiffs and other similarly situated payers in
 3   the Class paid anti-competitive, artificially inflated prices for Acthar. During the Class
 4   Period, Defendants’ illegal conduct substantially affected Minnesota commerce. As a
 5   direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and other
 6   similarly situated payers in the Class have been injured in their business and property
 7   and are threatened with further injury. Due to the foregoing, Defendants have entered
 8   into agreements in restraint of trade in violation of Minnesota Stat. §§ 325D.49, et seq.
 9   Accordingly, Plaintiffs and other similarly situated payers in the Class seek all relief
10   available under Minnesota Stat. §§ 325D.49, et seq.
11                                          Mississippi
12   88.   Defendants have entered into an unlawful agreement in restraint of trade in
13   violation of Mississippi Code Annotated §§ 75-21-1, et seq. Defendants’ combinations
14   or conspiracies had the following effects: (1) Acthar price competition was restrained,
15   suppressed, and eliminated throughout Mississippi; (2) Acthar prices were raised,
16   fixed, maintained and stabilized at artificially high levels throughout Mississippi; (3)
17   Plaintiffs and other similarly situated payers in the Class were deprived of free and
18   open competition; and (4) Plaintiffs and other similarly situated payers in the Class
19   paid anti-competitive, artificially inflated prices for Acthar. During the Class Period,
20   Defendants’ illegal conduct substantially affected Mississippi commerce. As a direct
21   and proximate result of Defendants’ unlawful conduct, Plaintiffs and other similarly
22   situated payers in the Class have been injured in their business and property and are
23   threatened with further injury. Due to the foregoing, Defendants have entered into
24   agreements in restraint of trade in violation of Mississippi Code Ann. § 75-21-1, et seq.
25   Accordingly, Plaintiffs and other similarly situated payers in the Class seek all relief
26   available under Mississippi Code Ann. § 75-21-1, et seq.
27                                           Missouri
28   89.   Defendants have engaged in unfair competition or unfair, unconscionable, or
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                                          COMPLAINT
 1   deceptive acts or practices in violation of the Missouri Merchandising Practices Act,
 2   Mo. Rev. Stat. § 407.010, et seq. Plaintiffs and members of the Class purchased
 3   Acthar for personal or family purposes. Defendants engaged in the conduct described
 4   herein regarding the sale of Acthar in trade or commerce in a market that includes
 5   Missouri. Defendants agreed to, and did in fact affect, fix, control, and/or maintain, at
 6   artificial and non-competitive levels, the prices at which Acthar was sold, distributed,
 7   or obtained in Missouri, which conduct constituted unfair practices in that it was
 8   unlawful under federal and state law, violated public policy, was unethical, oppressive
 9   and unscrupulous, and caused substantial injury to Plaintiffs and members of the Class.
10   Defendants concealed, suppressed, and omitted to disclose material facts to Plaintiffs
11   and members of the Class concerning Defendants’ unlawful activities and artificially
12   inflated prices for Acthar. The concealed, suppressed, and omitted facts would have
13   been important to Plaintiffs and members of the Class as they related to the cost of
14   Acthar they purchased. Defendants misrepresented the real cause of price increases
15   and/or the absence of price reductions in Acthar by making public statements that were
16   not in accord with the facts. Defendants’ statements and conduct concerning the price
17   of Acthar were deceptive as they had the tendency or capacity to mislead Plaintiffs and
18   members of the Class to believe that they were purchasing Acthar at prices established
19   by a free and fair market. Defendants’ unlawful conduct had the following effects: (1)
20   Acthar price competition was restrained, suppressed, and eliminated throughout
21   Missouri; (2) Acthar prices were raised, fixed, maintained, and stabilized at artificially
22   elevated levels throughout Missouri; (3) Plaintiffs and members of the Class were
23   deprived of free and open competition; and (4) Plaintiffs and members of the Class
24   paid anti-competitive, artificially inflated prices for Acthar. The foregoing acts and
25   practices constituted unlawful practices in violation of the Missouri Merchandising
26   Practices Act. As a direct and proximate result of the above-described unlawful
27   practices, Plaintiffs and members of the Class suffered ascertainable loss of money or
28   property. Accordingly, Plaintiffs and members of the Class seek all relief available
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                                          COMPLAINT
 1   under Missouri’s Merchandising Practices Act, specifically Mo. Rev. Stat. § 407.020,
 2   which prohibits “the act, use or employment by any person of any deception, fraud,
 3   false pretense, false promise, misrepresentation, unfair practice or the concealment,
 4   suppression, or omission of any material fact in connection with the sale or
 5   advertisement of any merchandise in trade or commerce…,” as further interpreted by
 6   the Missouri Code of State Regulations, 15 CSR 60-7.010, et seq., 15 CSR 60-8.010, et
 7   seq., and 15 CSR 60-9.010, et seq., and Mo. Rev. Stat. § 407.025, which provides for
 8   the relief sought in this count.
 9                                           Montana
10   90.   Defendants have engaged in unfair competition or unfair, unconscionable, or
11   deceptive acts or practices in violation of the Montana Unfair Trade Practices and
12   Consumer Protection Act of 1970, Mont. Code, §§ 30-14-103, et seq., and §§ 30-14-
13   201, et seq. Defendants’ unlawful conduct had the following effects: (1) Acthar price
14   competition was restrained, suppressed, and eliminated throughout Montana; (2)
15   Acthar prices were raised, fixed, maintained, and stabilized at artificially elevated
16   levels throughout Montana; (3) Plaintiffs and members of the Class were deprived of
17   free and open competition; and (4) Plaintiffs and members of the Class paid anti-
18   competitive, artificially inflated prices for Acthar. During the Class Period,
19   Defendants marketed, sold, or distributed Acthar in Montana, and Defendants’ illegal
20   conduct substantially affected Montana commerce and consumers. As a direct and
21   proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the Class
22   have been injured and are threatened with further injury. Defendants have engaged in
23   unfair competition or unfair or deceptive acts or practices in violation of Mont. Code,
24   §§ 30-14-103, et seq., and §§ 30-14-201, et seq., and, accordingly, Plaintiffs and
25   members of the Class seek all relief available under that statute.
26                                           Nebraska
27   91.   Defendants have entered into an unlawful agreement in restraint of trade in
28   violation of Nebraska Revised Statutes §§ 59-801, et seq. Defendants’ combinations
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                                          COMPLAINT
 1   or conspiracies had the following effects: (1) Acthar price competition was restrained,
 2   suppressed, and eliminated throughout Nebraska; (2) Acthar prices were raised, fixed,
 3   maintained and stabilized at artificially high levels throughout Nebraska; (3) Plaintiffs
 4   and other similarly situated payers in the Class were deprived of free and open
 5   competition; and (4) Plaintiffs and other similarly situated payers in the Class paid
 6   anti-competitive, artificially inflated prices for Acthar. During the Class Period,
 7   Defendants’ illegal conduct substantially affected Nebraska commerce. As a direct
 8   and proximate result of Defendants’ unlawful conduct, Plaintiffs and other similarly
 9   situated payers in the Class have been injured in their business and property and are
10   threatened with further injury. Due to the foregoing, Defendants have entered into
11   agreements in restraint of trade in violation of Nebraska Revised Statutes §§ 59-801, et
12   seq. Accordingly, Plaintiffs and other similarly situated payers in the Class seek all
13   relief available under Nebraska Revised Statutes §§ 59-801, et seq.
14                                            Nevada
15   92.   Defendants have entered into an unlawful agreement in restraint of trade in
16   violation of Nevada Revised Statutes Annotated §§ 598A.010, et seq. Defendants’
17   combinations or conspiracies had the following effects: (1) Acthar price competition
18   was restrained, suppressed, and eliminated throughout Nevada; (2) Acthar prices were
19   raised, fixed, maintained and stabilized at artificially high levels throughout Nevada;
20   (3) Plaintiffs and other similarly situated payers in the Class were deprived of free and
21   open competition; and (4) Plaintiffs and other similarly situated payers in the Class
22   paid anti-competitive, artificially inflated prices for Acthar. During the Class Period,
23   Defendants’ illegal conduct substantially affected Nevada commerce. As a direct and
24   proximate result of Defendants’ unlawful conduct, Plaintiffs and other similarly
25   situated payers in the Class have been injured in their business and property and are
26   threatened with further injury. Due to the foregoing, Defendants have entered into
27   agreements in restraint of trade in violation of Nevada Rev. Stat. Ann. §§ 598A, et seq.
28   Accordingly, Plaintiffs and other similarly situated payers in the Class seek all relief
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                                          COMPLAINT
 1   available under Nevada Rev. Stat. Ann. §§ 598A, et seq.
 2                                       New Hampshire
 3   93.    Defendants have entered into an unlawful agreement in restraint of trade in
 4   violation of New Hampshire Revised Statutes §§ 356:1, et seq. Defendants’
 5   combinations or conspiracies had the following effects: (1) Acthar competition was
 6   restrained, suppressed, and eliminated throughout New Hampshire; (2) Acthar prices
 7   were raised, fixed, maintained and stabilized at artificially high levels throughout New
 8   Hampshire; (3) Plaintiffs and other similarly situated payers in the Class were deprived
 9   of free and open competition; and (4) Plaintiffs and other similarly situated payers in
10   the Class paid anti-competitive, artificially inflated prices for Acthar. During the Class
11   Period, Defendants’ illegal conduct substantially affected New Hampshire commerce.
12   As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and other
13   similarly situated payers in the Class have been injured in their business and property
14   and are threatened with further injury. Due to the foregoing, Defendants have entered
15   into agreements in restraint of trade in violation of New Hampshire Revised Statutes
16   §§ 356:1, et seq. Accordingly, Plaintiffs and other similarly situated payers in the
17   Class seek all relief available under New Hampshire Revised Statutes §§ 356:1, et seq.
18                                         New Mexico
19   94.   Defendants have entered into an unlawful agreement in restraint of trade in
20   violation of New Mexico Statutes Annotated §§ 57-1-1, et seq. Defendants’
21   combinations or conspiracies had the following effects: (1) Acthar price competition
22   was restrained, suppressed, and eliminated throughout New Mexico; (2) Acthar prices
23   were raised, fixed, maintained and stabilized at artificially high levels throughout New
24   Mexico; (3) Plaintiffs and other similarly situated payers in the Class were deprived of
25   free and open competition; and (4) Plaintiffs and other similarly situated payers in the
26   Class paid anti-competitive, artificially inflated prices for Acthar. During the Class
27   Period, Defendants’ illegal conduct substantially affected New Mexico commerce. As
28   a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and other
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                                          COMPLAINT
 1   similarly situated payers in the Class have been injured in their business and property
 2   and are threatened with further injury. Due to the foregoing, Defendants have entered
 3   into agreements in restraint of trade in violation of New Mexico Stat. Ann. §§ 57-1-1,
 4   et seq. Accordingly, Plaintiffs and other similarly situated payers in the Class seek all
 5   relief available under New Mexico Stat. Ann. §§ 57-1-1, et seq.
 6                                        New Mexico II
 7   95.   Defendants have engaged in unfair competition or unfair, unconscionable, or
 8   deceptive acts or practices in violation of the New Mexico Stat. § 57-12-1, et seq.
 9   Defendants agreed to, and did in fact, act in restraint of trade or commerce by
10   affecting, fixing, controlling and/or maintaining at non-competitive and artificially
11   inflated levels, the prices at which Acthar was sold, distributed or obtained in New
12   Mexico and took efforts to conceal their agreements from Plaintiffs and members of
13   the Class. The conduct on the part of the Defendants constituted “unconscionable
14   trade practices,” in violation of N.M.S.A. Stat. § 57-12-3, in that such conduct, inter
15   alia, resulted in a gross disparity between the value received by Plaintiffs and the
16   members of the Class and the prices paid by them for Acthar as set forth in N.M.S.A.,
17   § 57-12-2E. Plaintiffs were not aware of Defendants’ price-fixing conspiracy and
18   were therefore unaware that they was being unfairly and illegally overcharged. There
19   was a gross disparity of bargaining power between the parties with respect to the price
20   charged by Defendants for Acthar. Defendants had the sole power to set that price and
21   Plaintiffs had no power to negotiate a lower price. Moreover, Plaintiffs lacked any
22   meaningful choice in purchasing Acthar because it was unaware of the unlawful
23   overcharge and there was no alternative source of supply through which Plaintiffs
24   could avoid the overcharges. Defendants’ conduct regarding sales of Acthar, including
25   their illegal conspiracy to secretly fix the price of Acthar at anti-competitive levels and
26   overcharge consumers, was substantively unconscionable because it was one-sided and
27   unfairly benefited Defendants at the expense of Plaintiffs and the public. Defendants
28   took grossly unfair advantage of Plaintiffs. The suppression of competition that has
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                                           COMPLAINT
 1   resulted from Defendants’ conspiracy has ultimately resulted in unconscionably higher
 2   prices for consumers so that there was a gross disparity between the price paid and the
 3   value received for Acthar. Defendants’ unlawful conduct had the following effects: (1)
 4   Acthar price competition was restrained, suppressed, and eliminated throughout New
 5   Mexico; (2) Acthar prices were raised, fixed, maintained, and stabilized at artificially
 6   elevated levels throughout New Mexico; (3) Plaintiffs and the members of the Class
 7   were deprived of free and open competition; and (4) Plaintiffs and the members of the
 8   Class paid anti-competitive, artificially inflated prices for Acthar. During the Class
 9   Period, Defendants’ illegal conduct substantially affected New Mexico commerce and
10   consumers. As a direct and proximate result of the unlawful conduct of the
11   Defendants, Plaintiffs and the members of the Class have been injured and are
12   threatened with further injury. Defendants have engaged in unfair competition or
13   unfair or deceptive acts or practices in violation of New Mexico Stat. § 57-12-1, et
14   seq., and, accordingly, Plaintiffs and the members of the Class seek all relief available
15   under that statute.
16                                          New York
17   96.   Defendants have entered into an unlawful agreement in restraint of trade in
18   violation of New York General Business Laws §§ 340, et seq. Defendants’
19   combinations or conspiracies had the following effects: (1) Acthar price competition
20   was restrained, suppressed, and eliminated throughout New York; (2) Acthar prices
21   were raised, fixed, maintained and stabilized at artificially high levels throughout New
22   York; (3) Plaintiffs and other similarly situated payers in the Class were deprived of
23   free and open competition; and (4) Plaintiffs and other similarly situated payers in the
24   Class paid anti-competitive, artificially inflated prices for Acthar that were higher than
25   they would have been absent the Defendants’ illegal acts. During the Class Period,
26   Defendants’ illegal conduct substantially affected New York commerce. As a direct
27   and proximate result of Defendants’ unlawful conduct, Plaintiffs and other similarly
28   situated payers in the Class have been injured in their business and property and are
                                             32
                                          COMPLAINT
 1   threatened with further injury. Due to the foregoing, Defendants have entered into
 2   agreements in restraint of trade in violation of the New York Donnelly Act, §§ 340, et
 3   seq. The conduct set forth above is a per se violation of the Act. Accordingly,
 4   Plaintiffs and other similarly situated payers in the Class seek all relief available under
 5   New York Gen. Bus. Law §§ 340, et seq.
 6                                         New York II
 7   97.   Defendants have engaged in unfair competition or unfair, unconscionable, or
 8   deceptive acts or practices in violation of N.Y. Gen. Bus. Law § 349, et seq.
 9   Defendants agreed to, and did in fact, act in restraint of trade or commerce by
10   affecting, fixing, controlling and/or maintaining, at artificial and non-competitive
11   levels, the prices at which Acthar was sold, distributed or obtained in New York and
12   took efforts to conceal their agreements from Plaintiffs and members of the Class.
13   Defendants and their co-conspirators made public statements about the prices of
14   Acthar that either omitted material information that rendered the statements that they
15   made materially misleading or affirmatively misrepresented the real cause of price
16   increases for Acthar; and Defendants alone possessed material information that was
17   relevant to consumers, but failed to provide the information. Because of Defendants’
18   unlawful trade practices in the State of New York, New York class members who
19   indirectly purchased Acthar were misled to believe that they were paying a fair price
20   for Acthar or the price increases for Acthar were for valid business reasons; and
21   similarly situated consumers were potentially affected by Defendants’ conspiracy.
22   Defendants knew that their unlawful trade practices with respect to pricing Acthar
23   would have an impact on New York consumers and not just the Defendants’ direct
24   customers. Defendants knew that their unlawful trade practices with respect to pricing
25   Acthar would have a broad impact, causing consumer class members who indirectly
26   purchased Acthar to be injured by paying more for Acthar than they would have paid
27   in the absence of Defendants’ unlawful trade acts and practices. The conduct of the
28   Defendants described herein constitutes consumer-oriented deceptive acts or practices
                                              33
                                           COMPLAINT
 1   within the meaning of N.Y. Gen. Bus. Law § 349, which resulted in consumer injury
 2   and broad adverse impact on the public at large, and harmed the public interest of the
 3   state of New York in an honest marketplace in which economic activity is conducted
 4   in a competitive manner. Defendants’ unlawful conduct had the following effects: (1)
 5   Acthar price competition was restrained, suppressed, and eliminated throughout New
 6   York; (2) Acthar prices were raised, fixed, maintained, and stabilized at artificially
 7   elevated levels throughout New York; (3) Plaintiffs and members of the Class were
 8   deprived of free and open competition; and (4) Plaintiffs and members of the Class
 9   paid anti-competitive, artificially inflated prices for Acthar. During the Class Period,
10   Defendants marketed, sold, or distributed Acthar in New York, and Defendants’ illegal
11   conduct substantially affected New York commerce and consumers. During the Class
12   Period, each of the Defendants named herein, directly, or indirectly and through
13   affiliates, dominated and controlled, manufactured, sold and/or distributed Acthar in
14   New York. Plaintiffs and members of the Class seek all relief available pursuant to
15   N.Y. Gen. Bus. Law § 349 (h).
16                                        North Carolina
17   98.   Defendants have entered into an unlawful agreement in restraint of trade in
18   violation of the North Carolina General Statutes §§ 75-1, et seq. Defendants’
19   combinations or conspiracies had the following effects: (1) Acthar price competition
20   was restrained, suppressed, and eliminated throughout North Carolina; (2) Acthar
21   prices were raised, fixed, maintained and stabilized at artificially high levels
22   throughout North Carolina; (3) Plaintiffs and other similarly situated payers in the
23   Class were deprived of free and open competition; and (4) Plaintiffs and other
24   similarly situated payers in the Class paid anti-competitive, artificially inflated prices
25   for Acthar. During the Class Period, Defendants’ illegal conduct substantially affected
26   North Carolina commerce. As a direct and proximate result of Defendants’ unlawful
27   conduct, Plaintiffs and other similarly situated payers in the Class have been injured in
28   their business and property and are threatened with further injury. Due to the
                                              34
                                           COMPLAINT
 1   foregoing, Defendants have entered into agreements in restraint of trade in violation of
 2   North Carolina Gen. Stat. §§ 75-1, et seq. Accordingly, Plaintiffs and other similarly
 3   situated payers in the Class seek all relief available under North Carolina Gen. Stat. §§
 4   75-1, et. seq.
 5                                      North Carolina II
 6   99.   Defendants have engaged in unfair competition or unfair, unconscionable, or
 7   deceptive acts or practices in violation of North Carolina Gen. Stat. § 75-1.1, et seq.
 8   Defendants agreed to, and did in fact, act in restraint of trade or commerce by
 9   affecting, fixing, controlling and/or maintaining, at artificial and non-competitive
10   levels, the prices at which Acthar was sold, distributed or obtained in North Carolina
11   and took efforts to conceal their agreements from Plaintiffs and members of the Class.
12   Defendants’ price-fixing conspiracy could not have succeeded absent deceptive
13   conduct by Defendants to cover up their illegal acts. Secrecy was integral to the
14   formation, implementation and maintenance of Defendants’ price-fixing conspiracy.
15   Defendants committed inherently deceptive and self-concealing actions, of which
16   Plaintiffs could not possibly have been aware. Defendants and their co-conspirators
17   publicly provided pretextual and false justifications regarding their price increases.
18   Defendants’ public statements concerning the price of Acthar created the illusion of
19   competitive pricing controlled by market forces rather than anti-competitive pricing
20   driven by Defendants’ illegal conspiracy. Moreover, Defendants deceptively
21   concealed their unlawful activities by mutually agreeing not to divulge the existence of
22   the conspiracy to outsiders. The conduct of the Defendants described herein
23   constitutes consumer-oriented deceptive acts or practices within the meaning of North
24   Carolina law, which resulted in consumer injury and broad adverse impact on the
25   public at large, and harmed the public interest of North Carolina consumers in an
26   honest marketplace in which economic activity is conducted in a competitive manner.
27   Defendants’ unlawful conduct had the following effects: (1) Acthar price competition
28   was restrained, suppressed, and eliminated throughout North Carolina; (2) Acthar
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                                          COMPLAINT
 1   prices were raised, fixed, maintained, and stabilized at artificially elevated levels
 2   throughout North Carolina; (3) Plaintiffs and members of the Class were deprived of
 3   free and open competition; and (4) Plaintiffs and members of the Class paid anti-
 4   competitive, artificially inflated prices for Acthar. During the Class Period,
 5   Defendants marketed, sold, or distributed Acthar in North Carolina, and Defendants’
 6   illegal conduct substantially affected North Carolina commerce and consumers.
 7   During the Class Period, each of the Defendants named herein, directly, or indirectly
 8   and through affiliates they dominated and controlled, manufactured, sold and/or
 9   distributed Acthar in North Carolina. Plaintiffs and members of the Class seek actual
10   damages for their injuries caused by these violations in an amount to be determined at
11   trial and are threatened with further injury. Defendants have engaged in unfair
12   competition or unfair or deceptive acts or practices in violation of North Carolina Gen.
13   Stat. § 75-1.1, et seq., and, accordingly, Plaintiffs and members of the Class seek all
14   relief available under that statute.
15                                          North Dakota
16   100. Defendants have entered into an unlawful agreement in restraint of trade in
17   violation of North Dakota Century Code §§ 51-08.1-01, et seq. Defendants’
18   combinations or conspiracies had the following effects: (1) Acthar price competition
19   was restrained, suppressed, and eliminated throughout North Dakota; (2) Acthar prices
20   were raised, fixed, maintained and stabilized at artificially high levels throughout
21   North Dakota; (3) Plaintiffs and other similarly situated payers in the Class were
22   deprived of free and open competition; and (4) Plaintiffs and other similarly situated
23   payers in the Class paid anti-competitive, artificially inflated prices for Acthar. During
24   the Class Period, Defendants’ illegal conduct had a substantial effect on North Dakota
25   commerce. As a direct and proximate result of Defendants’ unlawful conduct,
26   Plaintiffs and other similarly situated payers in the Class have been injured in their
27   business and property and are threatened with further injury. Due to the foregoing,
28   Defendants have entered into agreements in restraint of trade in violation of North
                                               36
                                            COMPLAINT
 1   Dakota Cent. Code §§ 51-08.1-01, et seq. Accordingly, Plaintiffs and other similarly
 2   situated payers in the Class seek all relief available under North Dakota Cent. Code §§
 3   51-08.1-01, et seq.
 4                                            Oregon
 5   101. Defendants have entered into an unlawful agreement in restraint of trade in
 6   violation of Oregon Revised Statutes §§ 646.705, et seq. Defendants’ combinations or
 7   conspiracies had the following effects: (1) Acthar price competition was restrained,
 8   suppressed, and eliminated throughout Oregon; (2) Acthar prices were raised, fixed,
 9   maintained and stabilized at artificially high levels throughout Oregon; (3) Plaintiffs
10   and other similarly situated payers in the Class were deprived of free and open
11   competition; and (4) Plaintiffs and other similarly situated payers in the Class paid
12   anti-competitive, artificially inflated prices for Acthar. During the Class Period,
13   Defendants’ illegal conduct had a substantial effect on Oregon commerce. As a direct
14   and proximate result of Defendants’ unlawful conduct, Plaintiffs and other similarly
15   situated payers in the Class have been injured in their business and property and are
16   threatened with further injury. Due to the foregoing, Defendants have entered into
17   agreements in restraint of trade in violation of Oregon Revised Statutes §§ 646.705, et
18   seq. Accordingly, Plaintiffs and other similarly situated payers in the Class seek all
19   relief available under Oregon Revised Statutes §§ 646.705, et seq.
20                                         Rhode Island
21   102. Defendants have engaged in unfair competition or unfair, unconscionable, or
22   deceptive acts or practices in violation of the Rhode Island Unfair Trade Practice and
23   Consumer Protection Act (R.I. Gen. Laws §§ 6-13.1-1, et seq.). Members of this Class
24   purchased Acthar for personal, family, or household purposes. Defendants agreed to,
25   and did in fact, act in restraint of trade or commerce in a market that includes Rhode
26   Island, by affecting, fixing, controlling, and/or maintaining, at artificial and non-
27   competitive levels, the prices at which Acthar was sold, distributed, or obtained in
28   Rhode Island. Defendants deliberately failed to disclose material facts to Plaintiffs and
                                              37
                                           COMPLAINT
 1   members of the Class concerning Defendants’ unlawful activities and artificially
 2   inflated prices for Acthar. Defendants owed a duty to disclose such facts, and
 3   considering the relative lack of sophistication of the average, non-business purchaser,
 4   Defendants breached that duty by their silence. Defendants misrepresented to all
 5   purchasers during the Class Period that Defendants’ Acthar prices were competitive
 6   and fair. Defendants’ unlawful conduct had the following effects: (1) Acthar price
 7   competition was restrained, suppressed, and eliminated throughout Rhode Island; (2)
 8   Acthar prices were raised, fixed, maintained, and stabilized at artificially elevated
 9   levels throughout Rhode Island; (3) Plaintiffs and members of the Class were deprived
10   of free and open competition; and (4) Plaintiffs and members of the Class paid anti-
11   competitive, artificially inflated prices for Acthar. As a direct and proximate result of
12   the Defendants’ violations of law, Plaintiffs and members of the Class suffered an
13   ascertainable loss of money or property as a result of Defendants’ use or employment
14   of unconscionable and deceptive commercial practices as set forth above. That loss
15   was caused by Defendants’ willful and deceptive conduct, as described herein.
16   Defendants’ deception, including their affirmative misrepresentations and omissions
17   concerning the price of Acthar, likely misled all purchasers acting reasonably under the
18   circumstances to believe that they were purchasing Acthar at prices set by a free and
19   fair market. Defendants’ affirmative misrepresentations and omissions constitute
20   information important to Plaintiffs and members of the Class as they relate to the cost
21   of Acthar they purchased. Defendants have engaged in unfair competition or unfair or
22   deceptive acts or practices in violation of Rhode Island Gen. Laws. § 6-13.1-1, et seq.,
23   and, accordingly, Plaintiffs and members of the Class seek all relief available under
24   that statute.
25                                        South Carolina
26   103. Defendants have engaged in unfair competition or unfair, unconscionable, or
27   deceptive acts or practices in violation of South Carolina Unfair Trade Practices Act
28   (S.C. Code Ann. §§ 39-5-10, et seq.). Defendants’ combinations or conspiracies had
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                                          COMPLAINT
 1   the following effects: (1) Acthar price competition was restrained, suppressed, and
 2   eliminated throughout South Carolina; (2) Acthar prices were raised, fixed,
 3   maintained, and stabilized at artificially elevated levels throughout South Carolina; (3)
 4   Plaintiffs and members of the Class were deprived of free and open competition; and
 5   (4) Plaintiffs and members of the Class paid anti-competitive, artificially inflated
 6   prices for Acthar. During the Class Period, Defendants’ illegal conduct had a
 7   substantial effect on South Carolina commerce. As a direct and proximate result of
 8   Defendants’ unlawful conduct, Plaintiffs and members of the Class have been injured
 9   in their business and property and are threatened with further injury. Defendants have
10   engaged in unfair competition or unfair or deceptive acts or practices in violation of
11   S.C. Code Ann. §§ 39-5-10, et seq., and, accordingly, Plaintiffs and the members of
12   the Class seek all relief available under that statute.
13                                          South Dakota
14   104. Defendants have entered into an unlawful agreement in restraint of trade in
15   violation of South Dakota Codified Laws §§ 37-1-3.1, et seq. Defendants’
16   combinations or conspiracies had the following effects: (1) Acthar price competition
17   was restrained, suppressed, and eliminated throughout South Dakota; (2) Acthar prices
18   were raised, fixed, maintained and stabilized at artificially high levels throughout
19   South Dakota; (3) Plaintiffs and other similarly situated payers in the Class were
20   deprived of free and open competition; and (4) Plaintiffs and other similarly situated
21   payers in the Class paid anti-competitive, artificially inflated prices for Acthar. During
22   the Class Period, Defendants’ illegal conduct had a substantial effect on South Dakota
23   commerce. As a direct and proximate result of Defendants’ unlawful conduct,
24   Plaintiffs and other similarly situated payers in the Class have been injured in their
25   business and property and are threatened with further injury. Due to the foregoing,
26   Defendants have entered into agreements in restraint of trade in violation of South
27   Dakota Codified Laws Ann. §§ 37-1, et seq. Accordingly, Plaintiffs and other
28   similarly situated payers in the Class seek all relief available under South Dakota
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                                            COMPLAINT
 1   Codified Laws Ann. §§ 37-1, et seq.
 2                                          Tennessee
 3   105. Defendants have entered into an unlawful agreement in restraint of trade in
 4   violation of Tennessee Code Annotated §§ 47-25-101, et seq. Defendants’
 5   combinations or conspiracies had the following effects: (1) Acthar price competition
 6   was restrained, suppressed, and eliminated throughout Tennessee; (2) Acthar prices
 7   were raised, fixed, maintained and stabilized at artificially high levels throughout
 8   Tennessee; (3) Plaintiffs and other similarly situated payers in the Class were deprived
 9   of free and open competition; and (4) Plaintiffs and other similarly situated payers in
10   the Class paid anti-competitive, artificially inflated prices for Acthar. During the Class
11   Period, Defendants’ illegal conduct had a substantial effect on Tennessee commerce.
12   As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and other
13   similarly situated payers in the Class have been injured in their business and property
14   and are threatened with further injury. Due to the foregoing, Defendants have entered
15   into agreements in restraint of trade in violation of Tennessee Code Ann. §§ 47-25-
16   101, et seq. Accordingly, Plaintiffs and other similarly situated payers in the Class
17   seek all relief available under Tennessee Code Ann. §§ 47-25-101, et seq.
18                                             Utah
19   106. Defendants have entered into an unlawful agreement in restraint of trade in
20   violation of Utah Code Annotated §§ 76-10-911, et seq. Defendants’ combinations or
21   conspiracies had the following effects: (1) Acthar price competition was restrained,
22   suppressed, and eliminated throughout Utah; (2) Acthar prices were raised, fixed,
23   maintained and stabilized at artificially high levels throughout Utah; (3) Plaintiffs and
24   other similarly situated payers in the Class were deprived of free and open
25   competition; and (4) Plaintiffs and other similarly situated payers in the Class paid
26   anti-competitive, artificially inflated prices for Acthar. During the Class Period,
27   Defendants’ illegal conduct had a substantial effect on Utah commerce. As a direct
28   and proximate result of Defendants’ unlawful conduct, Plaintiffs and other similarly
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                                           COMPLAINT
 1   situated payers in the Class have been injured in their business and property and are
 2   threatened with further injury. Due to the foregoing, Defendants have entered into
 3   agreements in restraint of trade in violation of Utah Code Annotated §§ 76-10-911, et
 4   seq. Accordingly, Plaintiffs and other similarly situated payers in the Class seek all
 5   relief available under Utah Code Annotated §§ 76-10-911, et seq.
 6                                           Vermont
 7   107. Defendants have entered into an unlawful agreement in restraint of trade in
 8   violation of the Vermont Stat. Ann. 9 §§ 2453, et seq. Defendants’ combinations or
 9   conspiracies had the following effects: (1) Acthar price competition was restrained,
10   suppressed, and eliminated throughout Vermont; (2) Acthar prices were raised, fixed,
11   maintained and stabilized at artificially high levels throughout Vermont; (3) Plaintiffs
12   and other similarly situated payers in the Class were deprived of free and open
13   competition; and (4) Plaintiffs and other similarly situated payers in the Class paid
14   anti-competitive, artificially inflated prices for Acthar. During the Class Period,
15   Defendants’ illegal conduct had a substantial effect on Vermont commerce. As a
16   direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and other
17   similarly situated payers in the Class have been injured in their business and property
18   and are threatened with further injury. Due to the foregoing, Defendants have entered
19   into agreements in restraint of trade in violation of Vermont Stat. Ann. 9 §§ 2453, et
20   seq. Accordingly, Plaintiffs and other similarly situated payers in the Class seek all
21   relief available under Vermont Stat. Ann. 9 §§ 2453, et seq.
22                                          Vermont II
23   108. Defendants have engaged in unfair competition or unfair, unconscionable, or
24   deceptive acts or practices in violation of 9 Vermont § 2451, et seq. Defendants
25   agreed to, and did in fact, act in restraint of trade or commerce in a market that
26   includes Vermont, by affecting, fixing, controlling, and/or maintaining, at artificial and
27   non-competitive levels, the prices at which Acthar was sold, distributed, or obtained in
28   Vermont. Defendants deliberately failed to disclose material facts to Plaintiffs and
                                             41
                                          COMPLAINT
 1   members of the Class concerning Defendants’ unlawful activities and artificially
 2   inflated prices for Acthar. Defendants owed a duty to disclose such facts, and
 3   considering the relative lack of sophistication of the average, non-business purchaser,
 4   Defendants breached that duty by their silence. Defendants misrepresented to all
 5   purchasers during the Class Period that Defendants’ Acthar prices were competitive
 6   and fair. Defendants’ unlawful conduct had the following effects: (1) Acthar price
 7   competition was restrained, suppressed, and eliminated throughout Vermont; (2)
 8   Acthar prices were raised, fixed, maintained, and stabilized at artificially elevated
 9   levels throughout Vermont; (3) Plaintiffs and members of the Class were deprived of
10   free and open competition; and (4) Plaintiffs and members of the Class paid anti-
11   competitive, artificially inflated prices for Acthar. As a direct and proximate result of
12   the Defendants’ violations of law, Plaintiffs and members of the Class suffered an
13   ascertainable loss of money or property as a result of Defendants’ use or employment
14   of unconscionable and deceptive commercial practices as set forth above. That loss
15   was caused by Defendants’ willful and deceptive conduct, as described herein.
16   Defendants’ deception, including their affirmative misrepresentations and omissions
17   concerning the price of Acthar, likely misled all purchasers acting reasonably under the
18   circumstances to believe that they were purchasing Acthar at prices set by a free and
19   fair market. Defendants’ misleading conduct and unconscionable activities constitutes
20   unfair competition or unfair or deceptive acts or practices in violation of 9 Vermont §
21   2451, et seq., and, accordingly, Plaintiffs and members of the Class seek all relief
22   available under that statute.
23                                        West Virginia
24   109. Defendants have entered into an unlawful agreement in restraint of trade in
25   violation of West Virginia Code §§ 47-18-1, et seq. Defendants’ combinations or
26   conspiracies had the following effects: (1) Acthar price competition was restrained,
27   suppressed, and eliminated throughout West Virginia; (2) Acthar prices were raised,
28   fixed, maintained and stabilized at artificially high levels throughout West Virginia;
                                             42
                                          COMPLAINT
 1   (3) Plaintiffs and other similarly situated payers in the Class were deprived of free and
 2   open competition; and (4) Plaintiffs and other similarly situated payers in the Class
 3   paid anti-competitive, artificially inflated prices for Acthar. During the Class Period,
 4   Defendants’ illegal conduct had a substantial effect on West Virginia commerce. As a
 5   direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and other
 6   similarly situated payers in the Class have been injured in their business and property
 7   and are threatened with further injury. Due to the foregoing, Defendants have entered
 8   into agreements in restraint of trade in violation of West Virginia Code §§ 47-18-1, et
 9   seq. Accordingly, Plaintiffs and other similarly situated payers in the Class seek all
10   relief available under West Virginia Code §§ 47-18-1, et seq.
11                                          Wisconsin
12   110. Defendants have entered into an unlawful agreement in restraint of trade in
13   violation of the Wisconsin Statutes §§ 133.01, et seq. Defendants’ combinations or
14   conspiracies had the following effects: (1) Acthar price competition was restrained,
15   suppressed, and eliminated throughout Wisconsin; (2) Acthar prices were raised, fixed,
16   maintained and stabilized at artificially high levels throughout Wisconsin; (3) Plaintiffs
17   and other similarly situated payers in the Class were deprived of free and open
18   competition; and (4) Plaintiffs and other similarly situated payers in the Class paid
19   anti-competitive, artificially inflated prices for Acthar. During the Class Period,
20   Defendants’ illegal conduct had a substantial effect on Wisconsin commerce. As a
21   direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and other
22   similarly situated payers in the Class have been injured in their business and property
23   and are threatened with further injury. Due to the foregoing, Defendants have entered
24   into agreements in restraint of trade in violation of Wisconsin Stat. §§ 133.01, et seq.
25   Accordingly, Plaintiffs and other similarly situated payers in the Class seek all relief
26   available under Wisconsin Stat. §§ 133.01, et seq. Plaintiffs and other similarly
27   situated payers in the Class in each of the above states have been injured in their
28   business and property due to Defendants’ unlawful combination, contract, conspiracy
                                             43
                                          COMPLAINT
 1   and agreement. Plaintiffs and other similarly situated payers in the Class have paid
 2   more for Acthar than they otherwise would have paid in the absence of Defendants’
 3   unlawful conduct. This injury is of the type the antitrust laws of the above states were
 4   designed to prevent and flows from that which makes Defendants’ conduct unlawful.
 5   In addition, Defendants have profited significantly from the aforesaid conspiracy.
 6   Defendants’ profits derived from their anticompetitive conduct come at the expense
 7   and detriment of members of Plaintiffs and other similarly situated payers in the Class.
 8   Accordingly, Plaintiffs and other similarly situated payers in the Class in each of the
 9   above jurisdictions seek damages (including statutory damages where applicable), to
10   be trebled or otherwise increased as permitted by a jurisdiction’s antitrust law, and
11   costs of suit, including reasonable attorneys’ fees, to the extent permitted by the above
12   state laws.
13                                   JURY TRIAL DEMAND
14   111. Plaintiffs demand a trial by jury on all triable issues within this pleading
15   pursuant to Rule 38(b) of the Federal Rules of Civil Procedure.
16                                   PRAYER FOR RELIEF
17         WHEREFORE, Plaintiffs, individually and on behalf of the Class described
18   herein, pray for the following relief:
19         a.      Find that this action satisfies the prerequisites for maintenance of a class
20   action pursuant to Federal Rules of Civil Procedure 23(a), (b)(2), and (b)(3), and
21   certify the respective Class;
22         b.      Designate Plaintiffs as representatives for the respective class and
23   Plaintiffs’ undersigned counsel as Class Counsel for the respective class;
24         c.      Issue a judgment against Defendants that:
25                 i.   Adjudges and decrees that Defendants violated Sections 1, 2, and 3 of
26         the Sherman Act, 15 U.S.C. §§1, 2, and 3.
27                 ii. Enjoins and restrains Defendants, their affiliates, assignees,
28         subsidiaries, successors, and transferees, and their officers, directors, partners,
                                                 44
                                              COMPLAINT
 1        agents and employees, and all other persons acting or claiming to act on their
 2        behalf or in concert with them, from continuing to engage in any anticompetitive
 3        conduct and from adopting in the future any practice, plan, program, or device
 4        having a similar purpose or effect to the anticompetitive practices set forth
 5        above
 6                iii.   Awards to Plaintiffs and the Class disgorgement of the Defendants’
 7        ill-gotten gains and any other equitable relief as the Court finds appropriate to
 8        redress Defendants’ violations of federal law or restore competition;
 9                iv. Awards to Plaintiffs and the Class treble damages, their costs, and
10        reasonable attorney’s fees, plus interest;
11                v. Grants Plaintiffs and the Class alleged herein such other and further
12        relief as the Court deems just and proper under the circumstances.
13
14   Dated: October 30, 2017                BAUM HEDLUND ARISTEI & GOLDMAN,
                                            P.C.
15
16                                           /s/ R. Brent Wisner
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